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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

   IN RE:                                          :
                                                        Case No. 1:17-12002
   KELLI R. HARDY                                  :
                                                        Chapter 13
                            Debtor.                :
                                                        Judge Buchanan
                                                   :

   KELLI R. HARDY                                  :

                            Plaintiff,             :    Adv. Proc. No. 1:18-ap-01075

             v.                                    :

   UC HEALTH, LLC                                  :

                            Defendant.             :


                DECLARATION OF DAVID A. CARNEY IN SUPPORT OF
           JOINT MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT


       I, David A. Carney, declare under penalty of perjury and pursuant to 28 U.S.C. 1746, as

follows:

       1.         My name is David A. Carney. I am over the age of 18 years old and competent to

give this declaration. I am working on the captioned matter as an attorney of record for UC Health.

If called as a witness, I could and would testify competently to the facts stated under oath.

           2.     I am a partner in the Cleveland office of Baker & Hostetler. My practice focuses

on class action and data privacy matters.

           3.     I was admitted to the Ohio state bar in 2005. I am also admitted in the Northern

and Southern Districts of Ohio. I have never been the subject of any type of disciplinary

proceeding.
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        4.     With the assistance of the Chapter 13 Trustee, UC Health has prepared a

spreadsheet that includes every filed proof of claim with unredacted medical bills attached and the

respective debtor’ names and addresses. There have been 279 such proofs of claim filed by UC

Health in the Southern District of Ohio.

        5.     Both parties have agreed to enter into the proposed Settlement Agreement after

extensive arms lengths’ negotiations to settle the claims of Plaintiff and the Settlement Class in

order to avoid the expense, risks, difficulties, delays, and uncertainties of continued litigation, and

to reach an accord that provides for a fair and equitable result.

        I declare under penalty of perjury that the foregoing is true and correct.


Executed on: March 21, 2019                            /s/ David A. Carney
                                                       David A. Carney
